\\]\\ Case 2:05-Cv-02181-.]PI\/|-tmp Document 30 Filed 08/18/05 Page 1 of 4 Page|D 55
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q;gzl,» vv.é.éu=;:yq£:::;m
WILLIE MARTIN, et al, *
Plaintiff, *

JON PHIPPS MGCALLA

  
   

C()RRECTION CORPORATION OF

 

 

 

AMERICA, et al ` U- S. DI STRICT JUDGE
Defeodant. /B/» am `>
( mrs
\,/

MOTION FOR EXTENSION OF TIME

 

COMES NOW, Plaintiffs, by and through counsel of record, Paul J. Springer, and
respectfully request that this Honorable Court grant an extension of time in which to tile Plaintiff’s
Response to Motion to Intervene and Amend Cornplaint. For the reasons set out in the attached
Mernoranduln, Plaintiffs' counsel request a five (5) day extension This is Plaintiff’s first request for
an extension of time to file a Response to Motion to Intervene.

WHEREFORE, PREMISES CONSIDERED, counsel for Plaintiffs respectfully request
that this Coutt grant a five (5) day extension of time or until August 22, 2005, in which to file

Plaintiffs’ Response to Motion to lntervene.

 

 

This document entered on the docket§

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with sure ss and/ur 79(3) FHCP on / 'O

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Attorney for Plaintiff

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CERTIFICATE OF SERVICE
. . it .
l hereby certify that on this ig day of` August 2005, a copy of the foregoing Motlon for
Extenslon of Time to respond to Motion to Intervene Was served on counsel for Plajntiff`, by placing
a copy in the U.S. Mail, first ~class, postage prepaid, addressed as follows:

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 30 in
case 2:05-CV-02181 Was distributed by f`aX, mail, or direct printing on
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